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                               Nos. 23-35440, 23-35450

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                         UNITED STATES OF AMERICA,

                                               Plaintiff-Appellee,
                                         v.
                                   STATE OF IDAHO,
                                               Defendant-Appellant,
                                         v.
  MIKE MOYLE, Speaker of the Idaho House of Representatives; CHUCK
WINDER, President Pro Tempore of the Idaho Senate; THE SIXTY-SEVENTH
      IDAHO LEGISLATURE, Proposed Intervenor-Defendants,

                                               Movants-Appellants.

                  On Appeal from the United States District Court
                             for the District of Idaho

    EMERGENCY MOTION FOR RECONSIDERATION EN BANC
    OF PUBLISHED ORDER GRANTING STAY PENDING APPEAL
          (RELIEF REQUESTED BY OCTOBER 10, 2023)

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                     CIRCUIT RULE 27-3 CERTIFICATE

      The undersigned certifies that the following is the information required by Cir-

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      (ii) Facts showing the existence and nature of the emergency.

      On September 28, 2023, a motions panel (Bade, Lee, VanDyke, JJ.) issued a pub-

lished order granting a motion by the Idaho Legislature—a permissive intervenor in the

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proceedings below—for a stay pending appeal of the district court’s preliminary injunc-

tion, which issued over a year earlier. As set forth below, emergency en banc reconsider-

ation of that published order, including an immediate administrative stay of the order,

is necessary to prevent immediate irreparable harm to the public and to the United

States.

          The published stay order (Add.1–18) allows Idaho to begin enforcing an abortion

ban—which has never previously been in effect in the Medicare-participating hospitals

at issue—in circumstances where that law is preempted by a federal statute. Federal law

guarantees access to abortion care when that treatment is necessary to stabilize emer-

gency medical conditions that put an individual’s “health” in “serious jeopardy,” or

when the individual risks “serious impairment to bodily functions” or “serious dysfunc-

tion of any bodily organ or part.” 42 U.S.C. § 1395dd(e)(1)(A), (3).

          Idaho’s law, however, criminalizes abortion care even in those circumstances. As

the district court concluded in its factual findings, unless the Idaho law remains en-

joined, medical professionals in Idaho face criminal liability for providing emergency

abortion care for conditions that, if not stabilized as contemplated by federal law, could

result in irreversible harms, such as sepsis requiring limb amputation, uncontrollable

bleeding requiring hysterectomy, or kidney failure requiring lifelong dialysis. For exam-

ple, after the stay order allowing Idaho’s criminal law to take effect in Medicare-partic-

ipating hospitals, a pregnant individual in Idaho experiencing uncontrollable (but non-

lethal) bleeding would have to undergo a hysterectomy instead of receiving medically
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necessary treatment to terminate the pregnancy. The stay, moreover, harms the United

States’s sovereign interests in the proper administration of federal law by permitting a

preempted state law to operate.

       The United States seeks an immediate administrative stay of the published order

and requests full relief on this motion by October 10, 2023.

       (iii) Earlier filing.

       The stay order issued on September 28, 2023. The United States filed this emer-

gency motion as soon as practicable, on September 30, 2023.

       (iv) Notice to counsel.

       Counsel for Movants-Appellants and Defendant-Appellant were notified of this

emergency motion by email at 1:26p.m. PT on September 29, 2023. As of this filing,

counsel for Movants-Appellants and Defendant-Appellant have not responded. This

motion and supporting documents will be served by email and by using the appellate

CM/ECF system. Ninth Circuit Court staff were notified of the government’s intent to

file this motion by email and voicemail on September 29, 2023.

       (v) Submissions to the district court.

       The stay order was issued by a motions panel of this Court. The requested relief

is not available in the district court.

                                                  s/ Nicholas S. Crown
                                                 Nicholas S. Crown



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                               RULE 35 STATEMENT

       En banc review is appropriate because the stay order involves questions of excep-

tional importance and conflicts with Fourth Circuit precedent, In re Baby K, 16 F.3d 590

(4th Cir. 1994).

       The Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C.

§ 1395dd, requires that Medicare-funded hospitals offer individuals “necessary stabiliz-

ing treatment” for their “emergency medical conditions.” In some circumstances, that

medically necessary treatment is pregnancy termination. EMTALA’s broad text covers

not only threats to a patient’s life, but also to her health, organs, and major bodily func-

tions. The Idaho law at issue, however, makes it a felony to terminate a patient’s preg-

nancy unless it is “necessary” to prevent the patient’s “death.” Idaho Code § 18-622(2).

Before Idaho’s law took effect, the United States sought preliminary relief to block

Idaho from enforcing the statute against emergency healthcare that EMTALA requires.

The district court issued a preliminary injunction.

       A year later, a panel of this Court published an order staying the injunction, im-

mediately permitting Idaho’s law to criminalize EMTALA-required treatments. The

question presented is:

       Whether the panel erred by staying the preliminary injunction, where the district

court found every factor in the United States’s favor—including that patients, provid-

ers, and public health would be irreparably harmed absent an injunction—and after the

movants delayed almost 11 months before seeking a stay.
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                                  INTRODUCTION

       In a published order, a motions panel of this Court stayed a year-old preliminary

injunction. Overnight, the stay allowed Idaho’s abortion ban—never previously in ef-

fect in Medicare-participating hospitals—to criminalize emergency healthcare that fed-

eral law requires. The Court should rehear the matter en banc, vacate the stay, and grant

an immediate administrative stay of the panel’s order.

       EMTALA guarantees individuals “necessary stabilizing treatment” for their

“emergency medical conditions.” By its terms, EMTALA extends beyond life-saving

care; it applies to threats to a patient’s health, organs, and major bodily functions. Preg-

nant individuals may arrive at Medicare-covered hospitals with serious conditions, in-

cluding infections, pre-eclampsia, or premature pre-term rupture of membranes

(PPROM). Those conditions can lead to devastating harms like sepsis requiring limb

amputation, uncontrollable bleeding requiring hysterectomy, or kidney failure requiring

lifelong dialysis—unless they are stabilized. Sometimes, a physician will determine that

pregnancy termination is the necessary stabilizing treatment, even when the physician

cannot conclude that the condition is lethal.

       But Idaho Code § 18-622 ensures that irreversible harms will occur, by making

it a felony for healthcare professionals to terminate a pregnancy unless doing so is “nec-

essary” to prevent the patient’s “death.” As the Idaho Supreme Court recognizes, that

carveout is narrower than EMTALA’s standard. Planned Parenthood Great Nw. v. State,

522 P.3d 1132, 1158, 1195-97, 1203-04, 1207 (Idaho 2023).
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       In August 2022, the United States sought preliminary relief before Idaho’s law

became effective. Invoking the Supremacy Clause and EMTALA’s express preemption

provision—and citing irreparable harms to the government and public absent relief—

the district court enjoined enforcement of § 18-622 in Medicare-participating hospitals

when doing so would directly conflict with EMTALA.

       A year later, a panel of this Court stayed the preliminary injunction. In granting

such extraordinary relief to the Idaho Legislature (which permissively intervened), the

panel: overlooked critical features in federal and state law (including that EMTALA

applies in non-lethal circumstances); ignored the factual record attesting to non-lethal

conditions requiring emergency pregnancy termination; contradicted the Idaho Su-

preme Court’s interpretation of Idaho’s law; and created a conflict with Fourth Circuit

precedent. The order upended the status quo (because Idaho’s law was enjoined before

it became effective), suddenly prohibiting physicians from providing treatment neces-

sary to prevent devastating harms. And it did so despite the Legislature’s 11-month

delay in seeking a stay.

       An administrative stay, en banc review, and vacatur of the panel order is war-

ranted. E.g., Feldman v. Arizona Sec. of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016)

(granting reconsideration en banc).

                                      BACKGROUND

       A.     Congress enacted EMTALA based on “a growing concern about the pro-

vision of adequate emergency room medical services to individuals who seek care,
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particularly as to the indigent and uninsured.” H.R. Rep. No. 99-241, pt. 3, at 5 (1985).

Its “overarching purpose” is “ensur[ing] that patients, particularly the indigent and un-

derinsured, receive adequate emergency medical care.” Arrington v. Wong, 237 F.3d 1066,

1073-74 (9th Cir. 2001) (quotation marks omitted). EMTALA applies to hospitals that

have an emergency department and participate in Medicare. 42 U.S.C.

§§ 1395cc(a)(1)(I)(i), 1395dd(e)(2).

       Covered hospitals must offer “[n]ecessary stabilizing treatment” to individuals

presenting with an “emergency medical condition.” Id. § 1395dd(b)(1)(A). Barring an

appropriate transfer and upon the patient’s informed consent, hospitals “must pro-

vide,” “within the staff and facilities available at the hospital, for such further medical

examination and such treatment as may be required to stabilize the medical condition.”

Id. § 1395dd(b)(1)(A), (2).

       An “emergency medical condition” exists when an individual’s “health” is in “se-

rious jeopardy” or the individual risks “serious impairment to bodily functions” or “se-

rious dysfunction of any bodily organ or part.” Id. § 1395dd(e)(1)(A). “‘[T]o stabilize’”

means “to provide such medical treatment of the condition as may be necessary to

assure, within reasonable medical probability, that no material deterioration of the con-

dition is likely to result from or occur during the transfer of the individual from a facil-

ity.” Id. § 1395dd(e)(3)(A).

       EMTALA preempts contrary state laws: “The provisions of this section do not

preempt any State or local law requirement, except to the extent that the requirement
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directly conflicts with a requirement of this section.” Id. § 1395dd(f) (emphasis added).

Preemption occurs when (1) it is “physically impossible” to comply with both state law

and EMTALA, or (2) “the state law is an obstacle to the accomplishment and execution

of the full purposes and objectives of Congress.” Draper v. Chiapuzio, 9 F.3d 1391, 1394

(9th Cir. 1993) (per curiam).

      B.     The Idaho Supreme Court calls Idaho Code § 18-622 a “Total Abortion

Ban” and already interpreted its exceptions as narrower than EMTALA’s standards.

Planned Parenthood, 522 P.3d at 1195-97, 1203-04, 1207. Unless the patient furnishes

(within the first trimester) a police report that her pregnancy resulted from “an act of

rape or incest,” Idaho Code § 18-622(2)(b), Idaho allows only those abortions “neces-

sary to prevent the death of the pregnant woman,” id. § 18-622(2)(a)(i), or to “remov[e]

… an ectopic or molar pregnancy,” id. § 18-604(1)(c). Otherwise, it is a felony punish-

able by imprisonment and license-suspension (or revocation) for healthcare profession-

als to “perform[],” “attempt[],” or “assist[] in performing or attempting to perform”

treatment involving pregnancy termination. Id. § 18-622(1).

      C.     Before § 18-622’s effective date, the United States sued to block the State

from enforcing it against providers who offer emergency healthcare that EMTALA re-

quires. 4-LEG-ER-570. On August 24, 2022, the district court issued a preliminarily

injunction. 1-LEG-ER-14–52. The court concluded that both impossibility- and obsta-

cle-preemption applied because Idaho law criminalizes and deters stabilizing treat-

ments. 1-LEG-ER-32–47. Potentially devastating conditions exist (e.g., PPROM, pre-
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eclampsia, and placental abruption) that meet EMTALA’s criteria, and for which an

abortion would prevent serious injuries even when a provider cannot conclude that

pregnancy termination is necessary to prevent death. 1-LEG-ER-20–22. And some con-

ditions lead to irreversible but non-lethal harms. 1-LEG-ER-15 (identifying “severe

sepsis requiring limb amputation, uncontrollable uterine hemorrhage requiring hyster-

ectomy, kidney failure requiring lifelong dialysis, hypoxic brain injury”); see 3-ER-188–

217, 319–358. Yet, even when providers conclude that abortion is medically necessary

stabilizing treatment in those circumstances, Idaho criminalizes that care because it is

not “necessary” to prevent “death.”1

          The Legislature did not seek a stay until nearly 11 months after the injunction

issued. Rather, the Legislature requested reconsideration, 2-LEG-ER-270, and supple-

mental briefing, 2-LEG-ER-209. When the court denied reconsideration on May 4,

2023, 1-LEG-ER-2, the Legislature did not appeal until July 3. 4-LEG-ER-587. That

same date, the Legislature moved for a stay in district court. 2-LEG-ER-76. In this

Court, the Legislature did not seek a stay until August 22, 2023. The State never sought

a stay.



         Idaho amended § 18-622, effective July 1, 2023. It now excludes “removal of
          1

an ectopic or molar pregnancy” from the definition of “abortion.” H.B. 374, § 1, 67th
Leg., 1st Reg. Sess. (Idaho 2023). The amendments also converted § 18-622’s prior af-
firmative-defense structure into exceptions to liability. Id. § 2. But the standard at issue
remains unchanged: The only relevant exception applies to abortions “necessary to pre-
vent … death.” Idaho Code § 18-622(2)(a)(i). The stay order thus erred in suggesting
“moot[ness].” Add.11.
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       On September 28, 2023, a panel of this Court issued a published order granting

a stay pending appeal. Add.1–18.

                                     ARGUMENT

I.     The Stay Order Reflects Significant Legal Errors.

       The order’s merits analysis falters at every step. It disregards EMTALA’s and

§ 18-622’s text, overlooks the factual record, and creates a circuit conflict.

       A.     EMTALA requires hospitals to offer abortion care when it
              constitutes stabilizing treatment.

       Medicare-participating hospitals must offer “stabilizing treatment” to individuals

presenting with an “emergency medical condition.” 42 U.S.C. § 1395dd(b)(1). “‘[T]o

stabilize’” means “to provide such medical treatment of the condition as may be neces-

sary to assure, within reasonable medical probability, that no material deterioration of

the condition is likely to result from or occur during” transfer. Id. § 1395dd(e)(3)(A).

That definition “is purely contextual or situational.” Cherukuri v. Shalala, 175 F.3d 446,

449 (6th Cir. 1999); see Baby K, 16 F.3d at 595-96. EMTALA requires any form of stabi-

lizing treatment, if the relevant professional deems it necessary in their reasonable med-

ical judgment.

       EMTALA’s protections apply to pregnant individuals. 42 U.S.C. § 1395dd(b).

Congress provided that a “pregnant woman” could be among the “individual[s]” expe-

riencing an “emergency medical condition.” Id. § 1395dd(e)(1)(A)(i), (B). Abortion care,

moreover, can constitute stabilizing treatment. Various conditions—e.g., PPROM, pre-


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eclampsia, and eclampsia—can arise or become exacerbated during pregnancy and con-

stitute emergency medical conditions. 3-ER-188–217, 319–358. In some circumstances,

a physician will conclude that the stabilizing treatment for these conditions is pregnancy

termination, even if the condition is non-lethal. Id.; 1-LEG-ER-15, 20–22. EMTALA

requires hospitals to provide such treatment upon the pregnant individual’s informed

consent. 42 U.S.C. § 1395dd(b)(1)(A), (2).

       B.    Idaho law is preempted because it prohibits stabilizing
             treatment.

       EMTALA expressly preempts “any State or local law requirement” that “directly

conflicts with a requirement of this section.” Id. § 1395dd(f). This standard incorporates

impossibility- and obstacle-preemption principles. Draper, 9 F.3d at 1393-94. As the

Fourth Circuit held, a state law permitting physicians to refuse stabilizing treatment

poses a direct conflict. Baby K, 16 F.3d at 597 (finding preemption where state law “ex-

empt[ed] physicians from providing care they consider medically or ethically inappro-

priate”).

       It is impossible to comply with Idaho Code § 18-622 and EMTALA in certain

cases. Under § 18-622, abortion care is a felony unless “necessary to prevent” the pa-

tient’s “death.” But conditions can meet EMTALA’s criteria even when providers can-

not determine that abortion is necessary to prevent death. As the district court found,

patients arrive at ERs suffering non-lethal conditions that could require pregnancy ter-

mination to prevent injuries like strokes, limb amputation, kidney failure, or hypoxic

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brain injury. 1-LEG-ER-15; see 3-ER-182–183, 191–192, 195–201, 204–210, 213–217,

319–358. Providers therefore cannot comply with both laws in such situations. See Valle

del Sol Inc. v. Whiting, 732 F.3d 1006, 1028 (9th Cir. 2013) (preemption where “individuals

could be prosecuted for conduct that Congress specifically sought to protect”).

       Obstacle preemption also applies. Section 18-622 has “a deterrent effect,” 1-

LEG-ER-40, and obstructs Congress’s “purpose” of “ensur[ing] that patients, particu-

larly the indigent and underinsured, receive adequate emergency medical care,” Arrington,

237 F.3d at 1073-74 (emphasis added) (quotation marks omitted); see Baby K, 16 F.3d at

597.

       C.     The order’s impossibility-preemption                 analysis     was
              fundamentally flawed.

              1.     The order misinterpreted EMTALA.

       a.     The panel incorrectly concluded that abortion cannot constitute stabiliz-

ing treatment by reasoning that EMTALA does not “mandate that certain procedures,

such as abortion, be offered.” Add.6. But there is no “such thing as a ‘canon of donut

holes,’ in which Congress’s failure to speak directly to a specific case that falls within a

more general statutory rule creates a tacit exception.” Bostock v. Clayton County, 140 S.

Ct. 1731, 1747 (2020). EMTALA does not “mandate” any specific procedures. It would

be impossible (and unnecessary) for EMTALA to list every conceivable emergency

medical condition and all corresponding stabilizing treatments. By not naming abortion,

EMTALA treats it the same as every other stabilizing treatment. And far from setting

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a “standard[] of care,” contra Add.6–8, the injunction preserves physicians’ statutory ob-

ligation to determine what treatment is “necessary to assure, within reasonable medical

probability, that no material deterioration of the condition is likely to occur.” 42 U.S.C.

§ 1395dd(e)(3)(A); see Cherukuri, 175 F.3d at 449-50.

      EMTALA mentions a specific stabilizing treatment in only one circumstance:

when pregnant individuals are “having contractions.” 42 U.S.C. § 1395dd(e)(1)(B); id.

§ 1395dd(e)(3)(A). This provision expands the definition of “emergency medical con-

dition” to include labor, which otherwise might not meet § 1395dd(e)(1)(A)’s standards.

For all other conditions, EMTALA tasks relevant physicians with determining medically

necessary stabilizing treatment. Id. § 1395dd(e)(3)(A).

      Congress knows how to create special rules governing abortion or excluding

abortion from otherwise-applicable rules, 4-LEG-ER-552 (collecting examples), but it

did not do so here. Indeed, the legislation through which Congress considered EM-

TALA included another proposed program that, unlike EMTALA, did expressly carve

out abortion. Compare H.R. 3128, 99th Cong. § 124 (1985) (language that became EM-

TALA), with id. § 302(b)(2)(B) (excluding abortion from different program); 42 U.S.C.

§ 18023(d) (indicating EMTALA may require emergency abortions). The omission of

any reference to abortion care shows that Congress did not intend EMTALA to exclude

such stabilizing treatment.

      Consistent with EMTALA’s broad text and “purpose” of ensuring “adequate

emergency medical care,” Arrington, 237 F.3d at 1073-74, courts have understood that
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abortion care can constitute stabilizing treatment, see, e.g., New York v. HHS, 414 F.

Supp. 3d 475, 537-39 (S.D.N.Y. 2019); California Amicus Br. 3-12. Practitioners like-

wise attested that EMTALA sometimes necessitates abortion care. 3-ER-323–336, 339–

346, 349–352, 355–358.

       b.     The order erred in suggesting (Add.6–7) that EMTALA’s reference to an

“unborn child” in § 1395dd(e)(1)(A) excludes pregnancy termination as stabilizing treat-

ment. EMTALA’s screening, stabilization, and transfer obligations run to an “individ-

ual,” not an “unborn child.” A hospital’s screening duty arises when an “individual”

“comes to the emergency department” and an examination or treatment request “is

made on the individual’s behalf.” 42 U.S.C. § 1395dd(a). A hospital’s obligation to sta-

bilize arises if it determines “the individual has an emergency medical condition.” Id.

§ 1395dd(b)(1). The “individual” must be informed of risks and benefits and can “re-

fuse such examination and treatment.” Id. § 1395dd(b)(2). And EMTALA restricts

transfer “until [the] individual [is] stabilized.” Id. § 1395dd(c).

       Section 1395dd(e)(1)(A) does not alter this conclusion. It expands the circum-

stances when pregnant individuals can be considered to have “emergency medical con-

ditions” by including conditions that might threaten the health of “the unborn child,”

but not necessarily that of the pregnant individual. Id. § 1395dd(e)(1)(A)(i) (defining

“emergency medical condition” to include conditions that could “plac[e] the health of

the individual (or, with respect to a pregnant woman, the health of the woman or her

unborn child) in serious jeopardy”). This addition does not alter EMTALA’s
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framework: what must be stabilized is the “medical condition,” id. § 1395dd(b)(1)(A),

belonging to the “individual,” id. § 1395dd(b)(1), (c), (e)(1)(A)(i).2

       Statutory history demonstrates that Congress did not intend this provision to

exclude abortion as stabilizing treatment. Originally, EMTALA’s definition of “emer-

gency medical condition” did not consider the health of an individual’s fetus. Pub. L.

No. 99-272, § 9121(b), 100 Stat. 82, 166 (1986). Any risks to the “unborn child” were

relevant only to determining whether a patient was in “active labor.” Id. When individ-

uals arrived at emergency rooms while not in labor and with a condition that jeopard-

ized the health of a fetus—but not (yet) the individual’s health—the hospital arguably

had no obligation to stabilize. Congress amended EMTALA, Pub. L. No. 101-239,

§ 6211(h), 103 Stat. 2106, 2248 (1989), providing that the term “‘emergency medical

condition’ also applies to a condition that places in serious jeopardy the health of the

woman or her unborn child,” H.R. Rep. No. 101-386, at 838 (1989) (Conf. Rep.) (em-

phases added). But under subsections (a), (b), and (c), a hospital’s duties under EM-

TALA still run to the pregnant individual.

       EMTALA’s informed-consent framework—which the stay order overlooked—

supports this view by contemplating that the individual will determine whether to con-

tinue a dangerous pregnancy. Hospitals must inform the individual of the risks and



       2
        EMTALA references an “unborn child” in three other provisions, 42 U.S.C.
§ 1395dd(c)(1)(A)(ii), (c)(2)(A), (e)(1)(B)(ii), but the order did not rely on them. They
are inapposite for the reasons discussed (and apply only when an individual is in labor).
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benefits of the stabilizing treatment. 42 U.S.C. § 1395dd(b)(2). Then, “the individual (or

a person acting on the individual’s behalf)” decides whether to proceed. Id.

      c.     Similarly inapt is the panel’s reliance on “Idaho’s historic police powers”

and the atextual view that EMTALA merely prevents “dumping” indigent patients.

Add.8, 13-14. Both conclusions disregard EMTALA’s preemption provision. EM-

TALA, moreover, did not preserve police powers that no State possessed when Con-

gress enacted the statute. In requiring stabilizing treatment and expressly assigning

preemptive effect, Congress was legislating against a backdrop that limited states’ au-

thority to ban abortion. And nothing in EMTALA’s text confines it to patient-dumping.

The Fourth Circuit rejected that interpretation because it “directly conflicts with the

plain language” of EMTALA’s stabilization requirement. Baby K, 16 F.3d at 595-96; see

Arrington, 237 F.3d at 1073-74.

             2.     The order        misinterpreted     Idaho’s     statute    and
                    precedent.

      The order’s alternative conclusion—that if EMTALA encompassed abortion

care, Idaho law “would not conflict,” Add.9—disregarded § 18-622’s text, Idaho prec-

edent, and EMTALA’s application in non-lethal contexts.

      The panel emphasized that § 18-622 permits abortions when physicians deem

such care “necessary to save the life of the mother,” Add.10-12, but ignored that EM-

TALA requires stabilizing treatments beyond those necessary to prevent death. 42 U.S.C.

§ 1395dd(e)(1)(A) (“health … in serious jeopardy”; “serious impairment to bodily

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functions”; “serious dysfunction of any bodily organ or part”). As the district court

recognized, EMTALA is “broader than” Idaho’s necessary-to-prevent-death standard

because, e.g., the stabilization requirement applies “to prevent injuries that are more

wide-ranging than death.” 1-LEG-ER-34. The panel did not address this textual re-

quirement.

       The order likewise ignored the factual findings and physician declarations detail-

ing devastating conditions that, if untreated, would present “grave risks” to the pregnant

individual’s health, even when a physician believes those risks are not yet lethal. E.g., 1-

LEG-ER-10 (“‘severe sepsis requiring limb amputation, uncontrollable uterine hemor-

rhage requiring hysterectomy, kidney failure requiring lifelong dialysis, or hypoxic brain

injury’”); 3-ER-328 (“eclampsia can cause coma”). Without analyzing such circum-

stances, the order now requires physicians to let emergency conditions deteriorate be-

fore offering necessary treatment—precisely what EMTALA prevents. 42 U.S.C.

§ 1395dd(e)(3).

       The panel’s reliance on Planned Parenthood, 522 P.3d 1132, was misplaced. The

Idaho Supreme Court explained that § 18-622 does not include “the broader ‘medical

emergency’ exception” to liability present in another Idaho statute. Id. at 1196.3 That


       3
        That “medical emergency” exception would cover any “condition that, in rea-
sonable medical judgment, so complicates the medical condition of a pregnant woman
as to necessitate the immediate abortion of her pregnancy to avert her death or for
which a delay will create serious risk of substantial and irreversible impairment of a
major bodily function.” Idaho Code § 18-8801(5).

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omission underscores that § 18-622 is narrower than EMTALA, because the medical-

emergency exception would have “appl[ied] in nearly identical circumstances in which

EMTALA might preclude the Total Abortion Ban from being enforced.” Id. at 1158;

id. at 1207 (observing “EMTALA uses language substantially similar to” the medical-

emergency exception absent from § 18-622).

      The stay order’s references (Add.11–12) to recent state-law amendments likewise

highlight the errors in its analysis. Those amendments removed § 18-622’s affirmative-

defense structure and excluded ectopic pregnancies from the definition of “criminal

abortion.” Idaho Code §§ 18-622(2)(a), 18-604(1)-(2). But Idaho law still requires that

an abortion be “necessary” to prevent “death,” which is narrower than EMTALA. In-

deed, when debating this amendment, Idaho legislators confirmed that “the decision

was to focus on the life of the mother versus a health exception.”

https://perma.cc/QC9M-LBQV (statement of Sen. Lakey).

      D.     The order’s obstacle-preemption analysis was mistaken.

      In rejecting obstacle preemption (Add.12–14), the order compounded the errors

described above by concluding that EMTALA is limited to patient-dumping and

“le[aves] it to state healthcare standards to determine which course of treatment” satis-

fies EMTALA’s stabilization requirements. Add.13. That interpretation erases EM-

TALA’s preemption provision. And the logic of that interpretation would allow re-

strictions on life-saving treatment for non-medical reasons, defeating a key purpose of

EMTALA. It is untenable to interpret a federal statute with an express preemption
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provision—enacted because state law had failed to ensure “adequate” emergency care,

Arrington, 237 F.3d at 1073-74; H.R. Rep. No. 99-241, pt. 3, at 5—as allowing state laws

prohibiting necessary emergency care.

       The order’s hypothetical spotlights this error. The panel posited that “a medical

professional may believe an organ transplant is necessary to stabilize a patient’s emer-

gency medical condition, but EMTALA would not then preempt a state’s requirements

governing organ transplants.” Add.8. That example is inapt because physicians could

still lawfully provide stabilizing treatment; the closer analogy is a law criminalizing organ

transplants. By condoning such a law, the order conflicts with EMTALA and the Fourth

Circuit’s decision in Baby K, 16 F.3d at 595-97.

       The order’s citations do not support a stay. Baker v. Adventist Health, Inc., 260 F.3d

987 (9th Cir. 2001), and Eberhardt v. City of Los Angeles, 62 F.3d 1253 (9th Cir. 1995), are

inapposite because they pertained to EMTALA’s screening requirement, not the stabi-

lization requirement. The latter is broader. Roberts v. Galen of Virginia, Inc., 525 U.S. 249,

250-53 (1999).

II.    The Equities Decisively Support Vacating the Stay.

       A.     The harms to the government and public interest, which “merge” here,

Nken v. Holder, 556 U.S. 418, 435 (2009), tilt sharply against the stay.

       1.     The stay “threaten[s] severe, irreparable harm to pregnant patients in

Idaho.” 1-LEG-ER-49. In allowing Idaho’s law to take effect overnight, the stay in-

creases the risk that pregnant patients needing emergency care will face irreversible
                                             16
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injuries (such as strokes, amputations, hysterectomies, and organ failure), let alone

death. Supra pp. 8-9, 13-15; 1-LEG-ER-50; 3-ER-182–183, 188–217, 319–358. It also

strains “the capacity of hospitals in neighboring states that do not prohibit physicians

from providing EMTALA-mandated care.” LEG-ER-50–51. Qualified OBGYNs had

already     begun    fleeing   Idaho.   Stolberg,   N.Y.    Times     (Sept.   7,   2023),

https://perma.cc/5WJB-GZFA; Cooper, Idaho Cap. Sun (Feb. 10, 2023),

https://perma.cc/R5QG-THSD.

      The order discounted these harms by stating that “Idaho’s law expressly contem-

plates necessary medical care for pregnant women in distress.” Add.17. But it relied on

an inapposite provision addressing “accidental death” or “unintentional injury to” the

fetus, not emergency abortions. Idaho Code § 18-622(4). And the panel’s statement that

Idaho “would not prevent abortions” when “EMTALA required such treatment,”

Add.17, again overlooks that EMTALA applies beyond lethal contexts.

      2.       The government also suffers irreparable harm when a preempted law op-

erates. United States v. California, 921 F.3d 865, 893 (9th Cir. 2019). The stay interferes

with the United States’ sovereign interest in proper administration of federal law, e.g.,

United States v. Alabama, 691 F.3d 1269, 1301 (11th Cir. 2012), and threatens “harm to

the administration and integrity of Medicare,” United States v. Mackby, 339 F.3d 1013,

1018 (9th Cir. 2003), because federal funding no longer guarantees access to medically

necessary treatments when EMTALA requires them, 3-ER-363–364; 3-ER-367–368

(observing over $3 billion in Medicare funding to Idaho hospitals over FY2018-2020).
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       B.      The Legislature is unlikely to suffer irreparable injury without a stay. See

Doe #1 v. Trump, 957 F.3d 1050, 1059 (9th Cir. 2020); Leiva-Perez v. Holder, 640 F.3d 962,

965 (9th Cir. 2011) (per curiam).

       The order stated that the Legislature “may” invoke harm to the State (repre-

sented by Idaho’s Attorney General) and seek to “enforc[e]” Idaho law. Add.14–15.

But the State declined to seek a stay, which undermines any claimed injury on this

ground. Regardless, because Idaho’s ability to enforce its law is “the core of this dis-

pute,” the alleged injury “is not ‘irreparable,’ because the [Legislature] ‘may yet pursue

and vindicate its interests in the full course of this litigation.’” Doe, 957 F.3d at 1059.

       The Legislature’s 11-month delay in seeking relief, moreover, “implies a lack of

urgency and irreparable harm.” Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762 F.2d 1374,

1377 (9th Cir. 1985); see Cuviello v. City of Vallejo, 944 F.3d 816, 833 (9th Cir. 2019). The

panel attributed the delay to the Planned Parenthood decision and the time the district

court “took in ruling on Idaho’s reconsideration motions.” Add.15–16. But both are

irrelevant because the Legislature could have requested (but chose not to seek) a stay in

the interim.

       The order likewise contravened the purpose of a stay by upending the status quo.

Nken, 556 U.S. at 429 (“A stay ‘simply suspend[s] judicial alteration of the status quo’”).

The preliminary injunction itself preserved the status quo because it issued before § 18-

622’s effective date.


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                                    CONCLUSION

       This Court should vacate the stay and grant an immediate administrative stay of

the panel’s order.


                                               Respectfully submitted,

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September 2023




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                      STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, appellee states that it knows of one case

related to the above-captioned consolidated appeals: Case No. 23-35153. That appeal

arises from the district court’s partial grant of intervention issued during the proceed-

ings below.

                                                 s/ Nicholas S. Crown
                                                Nicholas S. Crown
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                     CERTIFICATE OF COMPLIANCE

      This brief complies with Ninth Circuit Rule 35-4 and 40-1 because it contains

4,200 words. It was prepared in a proportionally spaced typeface using Word for Mi-

crosoft 365 in Garamond 14-point font.



                                              s/ Nicholas S. Crown
                                             Nicholas S. Crown
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                            CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2023, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Ninth Circuit by using the appellate CM/ECF system. I will also serve this motion by

email.



                                                  s/ Nicholas S. Crown
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                          ADDENDUM
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including Idaho, have exercised that prerogative to enact abortion restrictions. In

response, the federal government has sued Idaho claiming that a federal law

unrelated to abortion preempts the will of the people of that state, through their

elected representatives, to                         Dobbs described it. Id. at 2261.

Because there is no preemption, the Idaho Legislature is entitled to a stay of the

                     improperly enjoining its duly enacted statute.

                                 BACKGROUND

      In 2020, Idaho passed section 622, which prohibits most abortions in the state.

See S.B. 1385, 65th Leg., 2d Reg. Sess. (Idaho 2020). The law contained a trigger,

meaning that it was only to take effect thirty days after

any decision of the United States supreme court that restores to the states their

                                  2020 Idaho Sess. Laws 827. The law makes it a

crime for a healthcare provider to perform an abortion unless, among a few other

exceptions,                                        good faith medical judgment and

based on the facts known to the physician at the time, that the abortion was necessary

                                                Idaho Code § 18-622(2)(a)(i). Idaho

                                                      tionally terminate the clinically

diagnosable pregnancy of a woman with knowledge that the termination by those



in a few listed circumstances. Idaho Code § 18-604.



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      Dobbs triggered section 622, after which the federal government challenged

                                               the Emergency Medical Treatment and

Labor Act, 42 U.S.C. § 1395dd (EMTALA). EMTALA was enacted to prevent

hospitals that receive Medicare reimbursement from refusing to provide emergency

care to the indigent because of their inability to pay. Id. As relevant to this case, it

requires emergency room doctors to stabilize                      emergency medical

conditions before transferring them.        The federal government moved for a

preliminary injunction to stop          law from taking full effect on the trigger date

following Dobbs. The district court granted the preliminary injunction in August

2022 and denied reconsideration in May 2023. Both the State of Idaho and the Idaho

Legislature, which was allowed to intervene for purposes of the preliminary

                                                             The Legislature has also

moved for a stay of the injunction pending appeal.                               is not

preempted by EMTALA and the equitable factors favor a stay, we grant the



                                   DISCUSSION

      We consider four factors when considering a request for a stay of a district

                     (1) whether the stay applicant has made a strong showing that

he is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the



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other parties interested in the proceeding; and (4) where the public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S.

770, 776 (1987)).

        Each of the four Nken factors favors issuing a stay here. The Legislature has

made a strong showing that EMTALA does not preempt section 622. EMTALA

does not require abortions, and even if it did in some circumstances, that requirement

would not directly conflict with section 622. The federal government will not be

injured by the stay of an order preliminarily enjoining enforcement of a state law

that does not conflict with its own. Idaho, on the other hand, will be irreparably

injured absent a stay because the preliminary injunction directly harms its

sovereignty. And the balance of the equities and the public interest also favor

                                                                                during

the pendency of the S               .

   I.      The Legislature Has Made a Strong Showing That It Is Likely to
           Succeed on the Merits.

        Under Nken

succeed on the merits. 556 U.S. at 434. This threshold is met because EMTALA

does not preempt section 622.



the enacted legislation a provision explicitly addressing that issue   there is no need

to infer congressional intent to preempt state laws from the substantive provisions


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                       Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 517 (1992)

(alterations, internal quotation marks, and citations omitted). EMTALA contains an

                                                               do not preempt any

State or local law requirement, except to the extent that the requirement directly

conflicts wit                                                1395dd(f) (emphases

added); see also Baker v. Adventist Health, Inc., 260 F.3d 987, 993 (9th Cir. 2001)

                                       -

(citing § 1395dd(f))). Because t                    [c]ongressional intent [as] the




                         Draper v. Chiapuzio, 9 F.3d 1391, 1393 (9th Cir. 1993)

(citations omitted).

      As this court has recognized, when determining the preemptive effect of

                                                      Id. Direct conflicts occur in

only two instances. First, when complianc

Id. (quoting Fla. Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142 43

(1963)); see also McClellan v. I-Flow Corp., 776 F.3d 1035, 1039 (9th Cir. 2015).



                                                Chiapuzio, 9 F.3d at 1393 (quoting




                                           5
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Hines v. Davidowitz, 312 U.S. 52, 67 (1941)). In this case, neither type of conflict

exists.

          A. It Is Not Impossible to Comply with Both EMTALA and Section 622.
          EMTALA was enacted to ensure that the poor and uninsured receive

emergency medical care at hospitals receiving Medicare reimbursement.               See

Arrington v. Wong, 237 F.3d 1066, 1069 (9th Cir. 2001). It provides certain

procedures that hospitals must follow but does not set standards of care or

specifically mandate that certain procedures, such as abortion, be offered. But even

assuming that EMTALA did require abortions in certain, limited circumstances, it

would not require abortions that are punishable by section 622. So it still would not

be impossible to comply with both EMTALA and section 622.

          In interpreting a statute, we                      statutory text.   Tanzin v.

Tanvir, 141 S. Ct. 486, 489 (2020). The text of EMTALA shows that it does not

require hospitals to perform abortions. Instead, EMTALA requires a hospital to

determine whether an emergency medical condition is reasonably expected to place



woman or her unborn child) in serious jeopardy, serious impairment to bodily



§ 1395dd(e)(1)(A) (omissions removed) (emphasis added).              So an emergency

medical condition includes



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serio                Id. Where such a condition exists, the hospital must stabilize the

condition before transferring the individual to another medical facility unless certain

conditions are met. Id. § 1395dd(b)(1).                                            such

medical treatment of the condition as may be necessary to assure, within reasonable

medical probability, that no material deterioration of the condition is likely to result

from or occur during the transfer of the individual from a facility                    Id.

§ 1395dd(e)(3)(A).

        EMTALA therefore has dual stabilization requirements: hospitals must ensure

                                                                 or her unborn child is

likely to occur. The assumption that EMTALA implies some hierarchy when

stabilization of the woman might require

of the child requires us to read in an implicit duty to perform abortions from the

explicit duty to stabilize, which is far beyond that required for a direct conflict.

        The federal government nonetheless argues that because hospitals are required

                                                    must perform abortions because

                                                                   LA does not require

the State to allow every form of treatment that could conceivably stabilize a medical

condition solely because, as the government argues, a

                                           In fact, EMTALA does not impose any

standards of care on the practice of medicine. Nor could it within the broader



                                           7
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statutory scheme. See Baker, 260 F.3d at 993.

hospital provide whatever treatment an individual medical professional may desire.

For example, a medical professional may believe an organ transplant is necessary to



preempt a state               s governing organ transplants.

      Because                                              confirms that EMTALA

does not impose specific                                   ,                    that

the historic police powers of the States [are] not to be superseded by

Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996) (quoting Rice v. Santa Fe Elevator

Corp., 331 U.S. 218, 230 (1947)).

[from] dumping indigent patients by either refusing to provide emergency medical

treatment or transferring patie

Arrington, 237 F.3d at 1069 (alternations, internal quotation marks, and citation

omitted). The purpose of EMTALA is not to impose specific standards of care

such as requiring the provision of abortion    but si



Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1258 (9th Cir. 1995). To read

EMTALA to require a specific method of treatment, such as abortion, pushes the

statute far beyond its original purpose, and therefore is not a ground to disrupt




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      Even if the federal government were correct that EMTALA requires abortions

                             in limited circumstances, EMTALA still would not

conflict with              . Section 622 includes an exception allowing abortion



the facts known to the physician at the time, that the abortion [is] necessary to

                                                              18-622.

      The district court concluded that there is a gap between what a doctor might

believe necessary to save the life of a pregnant woman and what might be reasonably

expected to place the health of her or her unborn child in serious jeopardy, seriously

impair their bodily functions, or cause serious dysfunction of any bodily organ or

part. Specifically, the district court invoked the supposed

to construe it as creating a conflict with EMTALA. But almost all the examples in

                             -of-horribles are no longer true, given the Idaho

L               recent amendment to the statute and clarification from the Supreme

Court of Idaho.

      First, relying on declarations from certain doctors, the district court repeatedly

noted that the

judgment. For example, it held that

medically complex situations, [the statutory exception] is an empty promise      it does




                                          9
                                        Add.9
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to navigate their way ar

and that



      But after the district court issued its injunction, the Supreme Court of Idaho

authoritatively interpreted this state law provision as providing a broad, subjective

standard requiring the doctor, in his or her good faith medical judgment, to believe

it necessary to terminate the pregnancy. Planned Parenthood Great Nw. v. Idaho,

522 P.3d 1132, 1203 (Idaho 2023). Put another way, the Supreme Court of Idaho

clarified that the text of the exception means what it says: if a doctor subjectively

believes, in his or her good faith medical judgment, that an abortion is necessary to

prevent the death of the pregnant woman, then the exception applies. Id. Thus, the



would undermine their medical judgment is no longer valid.

      Second, t

experts who argued that Idaho doctors could not terminate a pregnancy while

complying with section 622 because they could not be certain that an abortion is

necessary. But the Supreme Court of

the standard under Idaho law. That Court also held that the standard has no

imminency requirement. Id. at 1203 04. It                                      ary to




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                                       Add.10
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death, or any other particular probability level. Id.

what is necessary to prevent the death of the woman         required       Id. at 1204

(internal quotation marks omitted). As the Supreme Court of Idaho

plain language of the [exception] leaves wide room for the physician



the                                                                                Id.

at 1203.

      Third, the district court heavily relied on ectopic pregnancies     mentioning

them eleven times in the opinion as a justification for finding section 622 in direct

conflict with EMTALA.                                                              the

                                                 not an abortion. See 2023 Idaho Sess.

Laws 906

now moot.

      Fourth, the district court emphasized that the life of the mother exception in

the statute was technically an affirmative defense, noting that an



But Idaho amended the law to make it a statutory exception, not an affirmative

defense. 2023 Idaho Sess. Laws 908. So this objection, too, has been superseded

by events.




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      Given the statutory amendments and the Supreme Court of Idaho

decision, any ambiguity identified by the federal government and the district court

no longer exists: if a doctor believes, in his or her good faith medical judgment, that

an abortion is necessary to save the life of the mother, then the exception applies.

Neither the

application. Id. at 1203. For all the hypotheticals presented by the district court, the

conduct required by EMTALA has been shown to satisfy                           fe of the

                  , so the two laws would not conflict even if EMTALA actually

required abortions.

      In sum, when a doctor determines an abortion is necessary to save the life of

the mother, termination of a pregnancy is not punishable by section 622. Idaho Code

§ 18-622. Therefore, even if the federal government were right that EMTALA

requires abortions in certain limited circumstances, EMTALA would not require

abortions that are punishable by section 622. The federal government is thus wrong

when it asserts that it is impossible to comply with both EMTALA and section 622.

      B. Section 622 Does Not Pose an Obstacle to the Purpose of EMTALA.
      Obstacle preemption occurs when,

case, the challenged state law stands as an obstacle to the accomplishment and



Trade Council, 530 U.S. 363, 373 (2000) (alterations and internal quotation marks



                                          12
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omitted) (quoting Hines                                         nt obstacle is a matter

of judgment, to be informed by examining the federal statute as a whole and

identifying its purpose and intended effects         Id. (emphasis added).

      As relevant here,

problem of hospital emergency rooms refusing to treat patients who were uninsured

                                                    Baker, 260 F.3d at 993. EMTALA



federal cause of actio                                                         Id.; see

also Eberhardt



                                                                             id., under



may be necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during the transfer of

the individual from a facility                    1395dd(e)(3)(A). Under the language

of EMTALA, Congress left it to state healthcare standards to determine which

                                                                                   See

id.

      It is not the purpose of EMTALA to force hospitals to treat medical conditions

using certain procedures.        Instead, EMTALA seeks to prevent hospitals from



                                          13
                                         Add.13
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neglecting poor or uninsured patients with the goal of protecting

                  her unborn child.    42 U.S.C. § 1395dd(e)(1)(A).

limitations on abortion services do not pose an obstacle to                    purpose

because they do not interfere with the provision of emergency medical services to

indigent patients.

   II.      The Legislature Has Shown Irreparable Harm Absent a Stay.

                time a State is enjoined by a court from effectuating statutes enacted

                                                                           Maryland v.

King, 567 U.S. 1301, 1303 (2012) (alterations in original) (quoting New Motor

Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)). The district



representatives of its people, so the State easily meets its burden of showing

irreparable harm. The federal government          two arguments to the contrary do not

convince us otherwise.

         First, the government argues that the Legislature cannot establish irreparable

harm by pointing to harm to the State of Idaho itself. But it makes no difference to

our harm analysis that the State seeks the stay through its Legislature, rather than

through its Attorney General                                                relies upon

a distinction without a difference. The State itself, not merely

                                       cannot effectuate its statutes. Id. And the State



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         Berger v. N.C. State Conf. of the NAACP, 142 S. Ct. 2191, 2202 (2022)

(alteration omitted) (quoting                                                   , 142

S. Ct. 1002, 1011 (2022)). Here, Idaho law empowers the Legislature as a state

entity to represent those interests. See Idaho Code § 67-465. The Legislature may

thus invoke the State           irreparable harm.

      Second, the federal government



showing of irreparable harm. The record is somewhat mixed on this issue, but

                                                                                 Arc

of Cal. v. Douglas



                                                    Id. at 990 91 (internal quotation

marks and citation omitted).

      It appears that the

injunction here is instead explained primarily by the long time that court took in

                                         , together with other circumstances outside

                         . On September 7, 2022, only two weeks after the district

court granted the                            injunction, the Legislature moved for

reconsideration. And in November 2022, it sent a letter to the court requesting a



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ruling on the motion to reconsider. In January 2023, three months after the federal

government responded to the reconsideration motion and two months after the

Legislature requested an expedited ruling, the Supreme Court of Idaho issued a

decision authoritatively interpreting section 622. Idaho requested leave to file

supplemental briefing in federal court addressing the Supreme Court of Idaho

decision. The district court took another three months after the supplemental

briefing was complete to decide the motion for reconsideration; the Legislature was

not at fault for these delays. And the Legislature moved for a stay in the district



motion for reconsideration. We cannot say that the Legislature was clearly dilatory

in defending                rights. The record suggests that the Legislature tried to

protect those rights before the district court before seeking a stay from this court.

   III.     The Balance of the Equities Favors a Stay.

      The third and fourth Nken factors



                        also favor a stay. 556 U.S. at 435.

      Idaho enacted section 622 to effectu                        interest in protecting

unborn life. That public interest is undermined each day section 622 remains

inappropriately enjoined. Beyond that specific interest, improperly preventing Idaho

from enforcing its duly enacted laws and general police power also undermines the



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                             -governance free from unwarranted federal interference.

See BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618

                                                                     ; Sierra Club v.

Trump



      The federal government points to no injury to itself                          .

                                                                       cites to cases

holding

           But because                                , those arguments do not help

the federal government.

      Beyond that inapposite concern, the federal government argues that a

continued stay will result in public health benefits for pregnant women needing

emergency care, and also benefit hospitals in neighboring states who would

otherwise be forced to treat women denied such care in Idaho. But

expressly contemplates necessary medical care for pregnant women in distress. See

Idaho Code § 18-622(4). So the federal g                                   pregnant

women will be denied necessary emergency care overlooks Idaho law. And as



conditions presented by some pregnant women, and that EMTALA required such

                         would not prevent abortions in those circumstances.



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        Ultimately, given our conclusion that EMTALA does not preempt

law, the federal government has no discernable interest in regulating the internal

medical affairs of the State, and the public interest is best served by preserving the

force and effect of a duly enacted Idaho law during the pendency of this appeal.

Therefore, the balance of the equities and the public interest support a stay in this

case.

                                  CONCLUSION

        For the above reasons, the traditional stay factors favor granting the

                         The                                      pending appeal is

therefore GRANTED.




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42 U.S.C. § 1395dd
§ 1395dd. Examination and treatment for emergency medical conditions and
women in labor
(a) Medical screening requirement
In the case of a hospital that has a hospital emergency department, if any individual
(whether or not eligible for benefits under this subchapter) comes to the emergency
department and a request is made on the individual's behalf for examination or
treatment for a medical condition, the hospital must provide for an appropriate medical
screening examination within the capability of the hospital's emergency department,
including ancillary services routinely available to the emergency department, to
determine whether or not an emergency medical condition (within the meaning of
subsection (e)(1)) exists.
(b) Necessary stabilizing treatment for emergency medical conditions and labor
    (1) In general
    If any individual (whether or not eligible for benefits under this subchapter) comes
    to a hospital and the hospital determines that the individual has an emergency
    medical condition, the hospital must provide either--
      (A) within the staff and facilities available at the hospital, for such further
      medical examination and such treatment as may be required to stabilize the
      medical condition, or
      (B) for transfer of the individual to another medical facility in accordance with
      subsection (c).
    (2) Refusal to consent to treatment
    A hospital is deemed to meet the requirement of paragraph (1)(A) with respect to
    an individual if the hospital offers the individual the further medical examination
    and treatment described in that paragraph and informs the individual (or a person
    acting on the individual's behalf) of the risks and benefits to the individual of such
    examination and treatment, but the individual (or a person acting on the individual's
    behalf) refuses to consent to the examination and treatment. The hospital shall take
    all reasonable steps to secure the individual's (or person's) written informed consent
    to refuse such examination and treatment.
    (3) Refusal to consent to transfer
    A hospital is deemed to meet the requirement of paragraph (1) with respect to an
    individual if the hospital offers to transfer the individual to another medical facility
    in accordance with subsection (c) and informs the individual (or a person acting on



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     the individual's behalf) of the risks and benefits to the individual of such transfer,
     but the individual (or a person acting on the individual's behalf) refuses to consent
     to the transfer. The hospital shall take all reasonable steps to secure the individual's
     (or person's) written informed consent to refuse such transfer.
(c) Restricting transfers until individual stabilized
     (1) Rule
     If an individual at a hospital has an emergency medical condition which has not
     been stabilized (within the meaning of subsection (e)(3)(B)), the hospital may not
     transfer the individual unless--
         (A)(i) the individual (or a legally responsible person acting on the individual's
         behalf) after being informed of the hospital's obligations under this section and
         of the risk of transfer, in writing requests transfer to another medical facility,
          (ii) a physician (within the meaning of section 1395x(r)(1) of this title) has
          signed a certification that1 based upon the information available at the time of
          transfer, the medical benefits reasonably expected from the provision of
          appropriate medical treatment at another medical facility outweigh the
          increased risks to the individual and, in the case of labor, to the unborn child
          from effecting the transfer, or
          (iii) if a physician is not physically present in the emergency department at the
          time an individual is transferred, a qualified medical person (as defined by the
          Secretary in regulations) has signed a certification described in clause (ii) after a
          physician (as defined in section 1395x(r)(1) of this title), in consultation with
          the person, has made the determination described in such clause, and
          subsequently countersigns the certification; and
         (B) the transfer is an appropriate transfer (within the meaning of paragraph (2))
         to that facility.
     A certification described in clause (ii) or (iii) of subparagraph (A) shall include a
     summary of the risks and benefits upon which the certification is based.
     (2) Appropriate transfer
     An appropriate transfer to a medical facility is a transfer--
         (A) in which the transferring hospital provides the medical treatment within its
         capacity which minimizes the risks to the individual's health and, in the case of a
         woman in labor, the health of the unborn child;


1 So in original. Probably should be followed by a comma.




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     (B) in which the receiving facility--
      (i) has available space and qualified personnel for the treatment of the
      individual, and
      (ii) has agreed to accept transfer of the individual and to provide appropriate
      medical treatment;
     (C) in which the transferring hospital sends to the receiving facility all medical
     records (or copies thereof), related to the emergency condition for which the
     individual has presented, available at the time of the transfer, including records
     related to the individual's emergency medical condition, observations of signs or
     symptoms, preliminary diagnosis, treatment provided, results of any tests and the
     informed written consent or certification (or copy thereof) provided under
     paragraph (1)(A), and the name and address of any on-call physician (described
     in subsection (d)(1)(C)) who has refused or failed to appear within a reasonable
     time to provide necessary stabilizing treatment;
     (D) in which the transfer is effected through qualified personnel and
     transportation equipment, as required including the use of necessary and
     medically appropriate life support measures during the transfer; and
     (E) which meets such other requirements as the Secretary may find necessary in
     the interest of the health and safety of individuals transferred.
(d) Enforcement
   (1) Civil money penalties
     (A) A participating hospital that negligently violates a requirement of this section
     is subject to a civil money penalty of not more than $50,000 (or not more than
     $25,000 in the case of a hospital with less than 100 beds) for each such violation.
     The provisions of section 1320a-7a of this title (other than subsections (a) and
     (b)) shall apply to a civil money penalty under this subparagraph in the same
     manner as such provisions apply with respect to a penalty or proceeding
     under section 1320a-7a(a) of this title.
     (B) Subject to subparagraph (C), any physician who is responsible for the
     examination, treatment, or transfer of an individual in a participating hospital,
     including a physician on-call for the care of such an individual, and who
     negligently violates a requirement of this section, including a physician who--
      (i) signs a certification under subsection (c)(1)(A) that the medical benefits
      reasonably to be expected from a transfer to another facility outweigh the risks
      associated with the transfer, if the physician knew or should have known that
      the benefits did not outweigh the risks, or



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        (ii) misrepresents an individual's condition or other information, including a
        hospital's obligations under this section,
is subject to a civil money penalty of not more than $50,000 for each such violation
and, if the violation is gross and flagrant or is repeated, to exclusion from participation
in this subchapter and State health care programs. The provisions of section 1320a-
7a of this title (other than the first and second sentences of subsection (a) and
subsection (b)) shall apply to a civil money penalty and exclusion under this
subparagraph in the same manner as such provisions apply with respect to a penalty,
exclusion, or proceeding under section 1320a-7a(a) of this title.
      (C) If, after an initial examination, a physician determines that the individual
      requires the services of a physician listed by the hospital on its list of on-call
      physicians (required to be maintained under section 1395cc(a)(1)(I) of this title)
      and notifies the on-call physician and the on-call physician fails or refuses to
      appear within a reasonable period of time, and the physician orders the transfer
      of the individual because the physician determines that without the services of
      the on-call physician the benefits of transfer outweigh the risks of transfer, the
      physician authorizing the transfer shall not be subject to a penalty under
      subparagraph (B). However, the previous sentence shall not apply to the hospital
      or to the on-call physician who failed or refused to appear.
    (2) Civil enforcement
      (A) Personal harm
      Any individual who suffers personal harm as a direct result of a participating
      hospital's violation of a requirement of this section may, in a civil action against
      the participating hospital, obtain those damages available for personal injury
      under the law of the State in which the hospital is located, and such equitable
      relief as is appropriate.
      (B) Financial loss to other medical facility
      Any medical facility that suffers a financial loss as a direct result of a participating
      hospital's violation of a requirement of this section may, in a civil action against
      the participating hospital, obtain those damages available for financial loss, under
      the law of the State in which the hospital is located, and such equitable relief as
      is appropriate.
      (C) Limitations on actions
      No action may be brought under this paragraph more than two years after the
      date of the violation with respect to which the action is brought.




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    (3) Consultation with quality improvement organizations
    In considering allegations of violations of the requirements of this section in
    imposing sanctions under paragraph (1) or in terminating a hospital's participation
    under this subchapter, the Secretary shall request the appropriate quality
    improvement organization (with a contract under part B of subchapter XI) to assess
    whether the individual involved had an emergency medical condition which had
    not been stabilized, and provide a report on its findings. Except in the case in which
    a delay would jeopardize the health or safety of individuals, the Secretary shall
    request such a review before effecting a sanction under paragraph (1) and shall
    provide a period of at least 60 days for such review. Except in the case in which a
    delay would jeopardize the health or safety of individuals, the Secretary shall also
    request such a review before making a compliance determination as part of the
    process of terminating a hospital's participation under this subchapter for violations
    related to the appropriateness of a medical screening examination, stabilizing
    treatment, or an appropriate transfer as required by this section, and shall provide
    a period of 5 days for such review. The Secretary shall provide a copy of the
    organization's report to the hospital or physician consistent with confidentiality
    requirements imposed on the organization under such part B.
    (4) Notice upon closing an investigation
    The Secretary shall establish a procedure to notify hospitals and physicians when
    an investigation under this section is closed.
(e) Definitions
In this section:
    (1) The term “emergency medical condition” means--
       (A) a medical condition manifesting itself by acute symptoms of sufficient
       severity (including severe pain) such that the absence of immediate medical
       attention could reasonably be expected to result in--
        (i) placing the health of the individual (or, with respect to a pregnant woman,
        the health of the woman or her unborn child) in serious jeopardy,
        (ii) serious impairment to bodily functions, or
        (iii) serious dysfunction of any bodily organ or part; or
       (B) with respect to a pregnant woman who is having contractions--
        (i) that there is inadequate time to effect a safe transfer to another hospital
        before delivery, or




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        (ii) that transfer may pose a threat to the health or safety of the woman or the
        unborn child.
    (2) The term “participating hospital” means a hospital that has entered into a
    provider agreement under section 1395cc of this title.
    (3)(A) The term “to stabilize” means, with respect to an emergency medical
    condition described in paragraph (1)(A), to provide such medical treatment of the
    condition as may be necessary to assure, within reasonable medical probability, that
    no material deterioration of the condition is likely to result from or occur during
    the transfer of the individual from a facility, or, with respect to an emergency
    medical condition described in paragraph (1)(B), to deliver (including the placenta).
       (B) The term “stabilized” means, with respect to an emergency medical
       condition described in paragraph (1)(A), that no material deterioration of the
       condition is likely, within reasonable medical probability, to result from or occur
       during the transfer of the individual from a facility, or, with respect to an
       emergency medical condition described in paragraph (1)(B), that the woman has
       delivered (including the placenta).
    (4) The term “transfer” means the movement (including the discharge) of an
    individual outside a hospital's facilities at the direction of any person employed by
    (or affiliated or associated, directly or indirectly, with) the hospital, but does not
    include such a movement of an individual who (A) has been declared dead, or (B)
    leaves the facility without the permission of any such person.
    (5) The term “hospital” includes a critical access hospital (as defined in section
    1395x(mm)(1) of this title) and a rural emergency hospital (as defined in section
    1395x(kkk)(2) of this title).
(f) Preemption
The provisions of this section do not preempt any State or local law requirement, except
to the extent that the requirement directly conflicts with a requirement of this section.
(g) Nondiscrimination
A participating hospital that has specialized capabilities or facilities (such as burn units,
shock-trauma units, neonatal intensive care units, or (with respect to rural areas)
regional referral centers as identified by the Secretary in regulation) shall not refuse to
accept an appropriate transfer of an individual who requires such specialized capabilities
or facilities if the hospital has the capacity to treat the individual.
(h) No delay in examination or treatment
A participating hospital may not delay provision of an appropriate medical screening
examination required under subsection (a) or further medical examination and


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treatment required under subsection (b) in order to inquire about the individual's
method of payment or insurance status.
(i) Whistleblower protections
A participating hospital may not penalize or take adverse action against a qualified
medical person described in subsection (c)(1)(A)(iii) or a physician because the person
or physician refuses to authorize the transfer of an individual with an emergency
medical condition that has not been stabilized or against any hospital employee because
the employee reports a violation of a requirement of this section.


Idaho Code § 18-604 (effective July 1, 2023)
§ 18-604. Definitions
As used in this chapter:
(1) “Abortion” means the use of any means to intentionally terminate the clinically
diagnosable pregnancy of a woman with knowledge that the termination by those means
will, with reasonable likelihood, cause the death of the unborn child except that, for the
purposes of this chapter, abortion shall not mean:
    (a) The use of an intrauterine device or birth control pill to inhibit or prevent
    ovulations, fertilization, or the implantation of a fertilized ovum within the uterus;
    (b) The removal of a dead unborn child;
    (c) The removal of an ectopic or molar pregnancy; or
    (d) The treatment of a woman who is no longer pregnant.
(2) “Department” means the Idaho department of health and welfare.
(3) “Down syndrome” means a chromosomal disorder associated either with an extra
chromosome 21, in whole or in part, or an effective trisomy for chromosome 21. Down
syndrome is sometimes referred to as “trisomy 21.”
(4) “Emancipated” means any minor who has been married or is in active military
service.
(5) “Fetus” and “unborn child.” Each term means an individual organism of the species
Homo sapiens from fertilization until live birth.
(6) “First trimester of pregnancy” means the first thirteen (13) weeks of a pregnancy.
(7) “Hospital” means an acute care general hospital in this state, licensed as provided
in chapter 13, title 39, Idaho Code.




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(8) “Informed consent” means a voluntary and knowing decision to undergo a
specific procedure or treatment. To be voluntary, the decision must be made freely
after sufficient time for contemplation and without coercion by any person. To be
knowing, the decision must be based on the physician's accurate and substantially
complete explanation of:
    (a) A description of any proposed treatment or procedure;
    (b) Any reasonably foreseeable complications and risks to the patient from such
    procedure, including those related to reproductive health; and
    (c) The manner in which such procedure and its foreseeable complications and
    risks compare with those of each readily available alternative to such procedure,
    including childbirth and adoption.
The physician must provide the information in terms that can be understood by the
person making the decision, with consideration of age, level of maturity and
intellectual capability.
(9) “Medical emergency” means a condition that, on the basis of the physician's good
faith clinical judgment, so complicates the medical condition of a pregnant woman as
to necessitate the immediate abortion of her pregnancy to avert her death or for
which a delay will create serious risk of substantial and irreversible impairment of a
major bodily function.
(10) “Minor” means a woman under eighteen (18) years of age.
(11) “Pregnant” and “pregnancy.” Each term shall mean the reproductive condition
of having a developing fetus in the body and commences with fertilization.
(12) “Physician” means a person licensed to practice medicine and surgery or
osteopathic medicine and surgery in this state as provided in chapter 18, title 54,
Idaho Code.
(13) “Second trimester of pregnancy” means that portion of a pregnancy following
the thirteenth week and preceding the point in time when the fetus becomes viable,
and there is hereby created a legal presumption that the second trimester does not end
before the commencement of the twenty-fifth week of pregnancy, upon which
presumption any licensed physician may proceed in lawfully aborting a patient
pursuant to section 18-608, Idaho Code, in which case the same shall be conclusive
and unrebuttable in all civil or criminal proceedings.
(14) “Third trimester of pregnancy” means that portion of a pregnancy from and after
the point in time when the fetus becomes viable.
(15) Any reference to a viable fetus shall be construed to mean a fetus potentially able
to live outside the mother's womb, albeit with artificial aid.


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Idaho Code § 18-604 (effective July 1, 2021)
§ 18-604. Definitions
As used in this act:
(1) “Abortion” means the use of any means to intentionally terminate the clinically
diagnosable pregnancy of a woman with knowledge that the termination by those means
will, with reasonable likelihood, cause the death of the unborn child except that, for the
purposes of this chapter, abortion shall not mean the use of an intrauterine device or
birth control pill to inhibit or prevent ovulations, fertilization or the implantation of a
fertilized ovum within the uterus.
(2) “Department” means the Idaho department of health and welfare.
(3) “Down syndrome” means a chromosomal disorder associated either with an extra
chromosome 21, in whole or in part, or an effective trisomy for chromosome 21. Down
syndrome is sometimes referred to as “trisomy 21.”
(4) “Emancipated” means any minor who has been married or is in active military
service.
(5) “Fetus” and “unborn child.” Each term means an individual organism of the species
Homo sapiens from fertilization until live birth.
(6) “First trimester of pregnancy” means the first thirteen (13) weeks of a pregnancy.
(7) “Hospital” means an acute care general hospital in this state, licensed as provided in
chapter 13, title 39, Idaho Code.
(8) “Informed consent” means a voluntary and knowing decision to undergo a specific
procedure or treatment. To be voluntary, the decision must be made freely after
sufficient time for contemplation and without coercion by any person. To be knowing,
the decision must be based on the physician's accurate and substantially complete
explanation of:
    (a) A description of any proposed treatment or procedure;
    (b) Any reasonably foreseeable complications and risks to the patient from such
    procedure, including those related to reproductive health; and
    (c) The manner in which such procedure and its foreseeable complications and risks
    compare with those of each readily available alternative to such procedure,
    including childbirth and adoption.
The physician must provide the information in terms that can be understood by the
person making the decision, with consideration of age, level of maturity and intellectual
capability.



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(9) “Medical emergency” means a condition that, on the basis of the physician's good
faith clinical judgment, so complicates the medical condition of a pregnant woman as
to necessitate the immediate abortion of her pregnancy to avert her death or for which
a delay will create serious risk of substantial and irreversible impairment of a major
bodily function.
(10) “Minor” means a woman under eighteen (18) years of age.
(11) “Pregnant” and “pregnancy.” Each term shall mean the reproductive condition of
having a developing fetus in the body and commences with fertilization.
(12) “Physician” means a person licensed to practice medicine and surgery or
osteopathic medicine and surgery in this state as provided in chapter 18, title 54, Idaho
Code.
(13) “Second trimester of pregnancy” means that portion of a pregnancy following the
thirteenth week and preceding the point in time when the fetus becomes viable, and
there is hereby created a legal presumption that the second trimester does not end
before the commencement of the twenty-fifth week of pregnancy, upon which
presumption any licensed physician may proceed in lawfully aborting a patient pursuant
to section 18-608, Idaho Code, in which case the same shall be conclusive and
unrebuttable in all civil or criminal proceedings.
(14) “Third trimester of pregnancy” means that portion of a pregnancy from and after
the point in time when the fetus becomes viable.
(15) Any reference to a viable fetus shall be construed to mean a fetus potentially able
to live outside the mother's womb, albeit with artificial aid.


Idaho Code § 18-622 (effective July 1, 2023)
§ 18-622. Defense of life act
(1) Except as provided in subsection (2) of this section, every person who performs or
attempts to perform an abortion as defined in this chapter commits the crime of
criminal abortion. Criminal abortion shall be a felony punishable by a sentence of
imprisonment of no less than two (2) years and no more than five (5) years in prison.
The professional license of any health care professional who performs or attempts to
perform an abortion or who assists in performing or attempting to perform an abortion
in violation of this subsection shall be suspended by the appropriate licensing board for
a minimum of six (6) months upon a first offense and shall be permanently revoked
upon a subsequent offense.
(2) The following shall not be considered criminal abortions for purposes of subsection
(1) of this section:


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    (a) The abortion was performed or attempted by a physician as defined in this
    chapter and:
       (i) The physician determined, in his good faith medical judgment and based on
       the facts known to the physician at the time, that the abortion was necessary to
       prevent the death of the pregnant woman. No abortion shall be deemed
       necessary to prevent the death of the pregnant woman because the physician
       believes that the woman may or will take action to harm herself; and
       (ii) The physician performed or attempted to perform the abortion in the
       manner that, in his good faith medical judgment and based on the facts known
       to the physician at the time, provided the best opportunity for the unborn child
       to survive, unless, in his good faith medical judgment, termination of the
       pregnancy in that manner would have posed a greater risk of the death of the
       pregnant woman. No such greater risk shall be deemed to exist because the
       physician believes that the woman may or will take action to harm herself; or
    (b) The abortion was performed or attempted by a physician as defined in this
    chapter during the first trimester of pregnancy and:
       (i) If the woman is not a minor or subject to a guardianship, then, prior to the
       performance of the abortion, the woman has reported to a law enforcement
       agency that she is the victim of an act of rape or incest and provided a copy of
       such report to the physician who is to perform the abortion. The copy of the
       report shall remain a confidential part of the woman’s medical record subject to
       applicable privacy laws; or
       (ii) If the woman is a minor or subject to a guardianship, then, prior to the
       performance of the abortion, the woman or her parent or guardian has reported
       to a law enforcement agency or child protective services that she is the victim of
       an act of rape or incest and a copy of such report has been provided to the
       physician who is to perform the abortion. The copy of the report shall remain a
       confidential part of the woman’s medical record subject to applicable privacy
       laws.
(3) If a report concerning an act of rape or incest is made to a law enforcement agency
or child protective services pursuant to subsection (2)(b) of this section, then the person
who made the report shall, upon request, be entitled to receive a copy of such report
within seventy-two (72) hours of the report being made, provided that the report may
be redacted as necessary to avoid interference with an investigation.
(4) Medical treatment provided to a pregnant woman by a health care professional as
defined in this chapter that results in the accidental death of, or unintentional injury to,
the unborn child shall not be a violation of this section.



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(5) Nothing in this section shall be construed to subject a pregnant woman on whom
any abortion is performed or attempted to any criminal conviction and penalty.


Idaho Code § 18-622 (enacted in 2020, effective August 25, 2022)
§ 18-622. Criminal abortion
(1) Notwithstanding any other provision of law, this section shall become effective
thirty (30) days following the occurrence of either of the following circumstances:
    (a) The issuance of the judgment in any decision of the United States supreme court
    that restores to the states their authority to prohibit abortion1; or
    (b) Adoption of an amendment to the United States constitution that restores to
    the states their authority to prohibit abortion.
(2) Every person who performs or attempts to perform an abortion as defined in this
chapter commits the crime of criminal abortion. Criminal abortion shall be a felony
punishable by a sentence of imprisonment of no less than two (2) years and no more
than (5) years in prison. The professional license of any health care professional who
performs or attempts to perform an abortion or who assists in performing or
attempting to perform an abortion in violation of this subsection shall be suspended by
the appropriate licensing board for a minimum of six (6) months upon a first offense
and shall be permanently revoked upon a subsequent offense.
(3) It shall be an affirmative defense to prosecution under subsection (2) of this section
and to any disciplinary action by an applicable licensing authority, which must be proven
by a preponderance of the evidence, that:
    (a) (i) The abortion was performed or attempted by a physician as defined in this
        chapter;
      (ii) The physician determined, in his good faith medical judgment and based on
      the facts known to the physician at the time, that the abortion was necessary to
      prevent the death of the pregnant woman. No abortion shall be deemed
      necessary to prevent the death of the pregnant woman because the physician
      believes that the woman may or will take action to harm herself; and
      (iii) The physician performed or attempted to perform the abortion in the
      manner that, in his good faith medical judgment and based on the facts known
      to the physician at the time, provided the best opportunity for the unborn child
      to survive, unless, in his good faith medical judgment, termination of the
      pregnancy in that manner would have posed a greater risk of the death of the
      pregnant woman. No such greater risk shall be deemed to exist because the
      physician believes that the woman may or will take action to harm herself; or


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    (b)(i) The abortion was performed or attempted by a physician as defined in this
       chapter;
       (ii) If the woman is not a minor or subject to a guardianship, then, prior to the
       performance of the abortion, the woman has reported the act of rape or incest
       to a law enforcement agency and provided a copy of such report to the physician
       who is to perform the abortion;
       (iii) If the woman is a minor or subject to a guardianship, then, prior to the
       performance of the abortion, the woman or her parent or guardian has reported
       the act of rape or incest to a law enforcement agency or child protective services
       and a copy of such report has been provided to the physician who is to perform
       the abortion; and
       (iv) The physician who performed the abortion complied with the requirements
       of paragraph (a)(iii) of this subsection regarding the method of abortion.
(4) Medical treatment provided to a pregnant woman by a health care professional as
defined in this chapter that results in the accidental death of, or unintentional injury to,
the unborn child shall not be a violation of this section.
(5) Nothing in this section shall be construed to subject a pregnant woman on whom
any abortion is performed or attempted to any criminal conviction and penalty.




                                          Add.31
